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                                                           August 1, 2023

VIA ECF

The Honorable Lewis A. Kaplan
United States District Court
Southern District of New York
United States Courthouse
500 Pearl Street
New York, New York 10007

         Re: United States v. Samuel Bankman-Fried, S5 22 Cr. 673 (LAK)

Dear Judge Kaplan:

        On behalf of our client, Samuel Bankman-Fried, we write to respond to the
Government’s letter filed Friday evening regarding Mr. Bankman-Fried’s communications with
a reporter for the New York Times and requesting that the Court revoke Mr. Bankman-Fried’s
bail. (ECF No. 184).

        In an abrupt reversal of course, the Government now asks the Court to remand Mr.
Bankman-Fried based on an alleged attempt at witness tampering by responding to a reporter
who ultimately wrote an article that was unfavorable to the defense, and which cast the
Government’s witness, Caroline Ellison, in a sympathetic light. The Government further
decided to not advise defense counsel in advance of the hearing that it had changed its position
based on pen register data showing nothing more than that Mr. Bankman-Fried was in frequent
contact with reporters, which is his constitutional right. Still, the Government asks the Court to
infer, without any evidence whatsoever, that his comments must have been designed to
intimidate witnesses or improperly influence the trial. This is simply wrong.

        The Government’s proffered factual basis to revoke Mr. Bankman-Fried’s bail is
extremely thin and relies heavily on assumptions, unsupported inferences, and innuendo. The
Government recognizes that, even under its view of the facts, Mr. Bankman-Fried’s contact with
the New York Times reporter by itself is not sufficient to justify detaining him. Instead, the
Government resuscitates prior instances of alleged improper conduct by Mr. Bankman-Fried—
namely, his contact with Witnesss-1 and his use of a Virtual Private Network (“VPN”)—which
the defendant disputed at the time and the Court already addressed by imposing additional bail
conditions several months ago.
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          The Government is wrong. Its version of events mischaracterizes the facts and removes
  them from their proper context to cast Mr. Bankman-Fried’s actions and intentions in the most
  negative light possible. The documents that have since been provided in discovery make clear
  that Witness-1 initiated the dialogue with Mr. Bankman-Fried and that Mr. Bankman-Fried’s
  message to Witness-1 was not an attempt to tamper with his testimony, but an attempt to offer
  himself as a resource in the bankruptcy. Mr. Bankman-Fried used the VPN to watch football and
  the Government has no evidence suggesting otherwise. And Mr. Bankman-Fried’s contact with
  the New York Times reporter was not an attempt to intimidate Ms. Ellison or taint the jury pool.
  It was a proper exercise of his rights to make fair comment on an article already in progress, for
  which the reporter already had alternate sources. The full record reflects that Mr. Bankman-
  Fried acted in good faith and without any improper or corrupt intent. This record does not
  support detention under either Section 3148 or 3142 of the Bail Reform Act.

         The Government’s position that it had nothing to do with the article in question is
  implausible. The language of the story itself, which discusses when the Government will begin
  preparing its trial witnesses and describes documents that were not provided to the reporter by
  Mr. Bankman-Fried, strongly indicates it was a source. To the extent this is relevant to the
  Court’s determination, the defense is entitled to a hearing on this issue.

          Furthermore, detaining Mr. Bankman-Fried based on his communications with a reporter
  raises serious First Amendment concerns. As the Government concedes, criminal defendants
  have a right to talk to the press about their case to influence their public image and try to protect
  their reputation, as long as the communications are not calculated to pervert the course of justice.

         Because of the Court’s concerns about the First Amendment issues at play here (Tr.
  7/26/2023 Conf. at 35), we have attached an expert affidavit from Professor Laurence Tribe of
  Harvard Law School discussing the constitutional considerations implicated by detaining Mr.
  Bankman-Fried on the current record. (Attachment 1).

          Finally, detaining Mr. Bankman-Fried at the Metropolitan Detention Center (“MDC”)
  would make it impossible for him to fully participate in his defense. As discussed further below,
  the MDC is currently in a staffing crisis, which will make it impossible for the MDC to provide
  sufficient access to the discovery, which is unusually voluminous and complex. Moreover, the
  prison does not permit inmates to have internet access, which will cut off Mr. Bankman-Fried
  from key parts of the discovery entirely and render the rest effectively unreviewable.

         We respectfully submit that the “least restrictive” method to address the Government’s
  concerns is for the Court to impose the Temporary Order Governing Extrajudicial Statements
  (ECF No. 180) as a final order. The defense is willing to agree to the order given the critical
  need to prepare for trial without distraction and the additional burden of collateral litigation. We
  would ask, although it is not a condition to our agreement, that in fairness it should be extended
  to witnesses as well, as provided for by Local Criminal Rule 23.1(h).
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         1.      The Government Has Repeatedly Jumped to Conclusions About Mr. Bankman-
                 Fried’s Conduct That Are Not Based in Fact.

                 a.     Mr. Bankman-Fried’s Contact with Witness-1 Was About Assisting with
                        the FTX Bankruptcy Proceedings, Not Witness Tampering.

          Mr. Bankman-Fried vigorously disputes that he was attempting to “tamper” with
  Witness-1. The defense objected to the Government’s characterization when it first raised this
  issue. (Tr. 2/16/2023 Conf. at 17 (“[F]or record purposes, we dispute that that’s what he was
  trying to do with the communication with Witness 1.”)). The defense did not have to litigate the
  issue at that time because it was resolved as a practical matter by adding a bail condition.
  Moreover, the defense did not have access to the full discovery, nor had we completed collecting
  our own client’s documents. These documents contain additional messages that provide the
  proper context for these communications. Because the Government has once again raised this
  issue as part of its basis for detaining Mr. Bankman-Fried, the defense can now supplement the
  existing record with these additional documents.

           The context makes clear that the Government’s characterization is entirely inaccurate and
  that it has not come close to carrying its burden of showing that Mr. Bankman-Fried was seeking
  to influence Witness 1’s testimony. Rather, Mr. Bankman-Fried’s message was the last of a
  series of messages that he sent to Witness-1 (General Counsel of FTX US), John Ray (CEO of
  the FTX Debtor entities), and lawyers for Sullivan & Cromwell (counsel to the FTX Debtor
  entities; hereinafter “S&C”) to offer his help supporting FTX’s creditors in the bankruptcy.

          Critically, it was Witness-1 who first reached out to Mr. Bankman-Fried using Signal on
  November 10, 2022, to encourage him to “align” his efforts to “support customer assets” with
  efforts by Witness-1 and other in-house FTX attorneys to do the same. The sequence began with
  Witness-1’s Signal message to Mr. Bankman-Fried, which he sent over two months before the
  January 15, 2023 message, and which read as follows:

                 There is a natural path where the work [another FTX in-house
                 attorney] and I are preparing for and what Sam is working on (which
                 I understand to be attempts to support customer assets) align….
                 Encourage Sam and his counsel to volunteer to join a call with the
                 SullCrom and Fenwick teams, when practical to discuss appropriate
                 alignment.

  (Declaration of Christian R. Everdell (“Everdell Decl.”), Exhibit A).

           A few days later, after control of the FTX Debtor entities had passed to John Ray and he
  had placed the entities in bankruptcy, Witness-1 again contacted Mr. Bankman-Fried by Signal,
  to tell him that “John [Ray] would love to hear your thoughts and talk to you / consult with you”
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  about “how to best generate value from current assets.” (Id.). Witness-1 added that he thought
  there would be “meaningful upside for preserving value for the companies if you [Mr. Bankman-
  Fried] can be a resource for this group (and others).” (Everdell Decl., Exhibit B). Mr. Bankman-
  Fried enthusiastically replied that he would “love to talk to [Mr. Ray]” (id.) and sent a follow-up
  Signal message to Witness-1 when Mr. Ray did not reach out to him. (Everdell Decl., Exhibit
  A). Mr. Bankman-Fried also sent multiple emails to Witness-1, Mr. Ray, and several S&C
  attorneys offering to talk to Mr. Ray. Mr. Bankman-Fried expressed that he thought “it would be
  very constructive and helpful for coordination between offices and entities [in The Bahamas and
  the United States] for us to have a productive communicative relationship.” (Everdell Decl.,
  Exhibit B).

          Despite Witness-1 encouraging Mr. Bankman-Fried to engage with Mr. Ray and the S&C
  lawyers, they did not reciprocate. Mr. Bankman-Fried nevertheless continued to reach out to Mr.
  Ray periodically over the next several weeks, in good faith, to try to establish the productive
  relationship he thought would benefit FTX creditors. In his emails to Mr. Ray, Mr. Bankman-
  Fried reiterated his desire to “work constructively” together. (Id.). 1

          By mid-January 2023, it had become increasingly clear to Mr. Bankman-Fried that his
  overtures to Mr. Ray were falling on deaf ears. On January 15, 2023, Mr. Bankman-Fried tried
  one more time to make contact. This time, he reached out to several S&C attorneys and also to
  Witness-1. Mr. Bankman-Fried contacted Witness-1 by both Signal and email (sending the same
  message with each) because Witness-1 had used both of those methods to communicate with him
  about these same issues. His message to all of them was the same message he had delivered to
  Mr. Ray – he was sorry that “things had ended up on the wrong foot” and he wanted to find a
  way to “have a constructive relationship” so that he could be helpful in the bankruptcy process.
  (Everdell Decl., Exhibit C). Indeed, from the time of the bankruptcy forward, Mr. Bankman-
  Fried was very open and clear with Witness-1, Mr. Ray, and the S&C lawyers that his main
  focus was to help get funds back to customers.

           Seen in the proper context, it is apparent that the Government has not carried its burden
  of establishing that Mr. Bankman-Fried was attempting to “tamper” with Witness-1’s potential
  testimony. Instead, in response to an overture from Witness-1, Mr. Bankman-Fried made a good
  faith attempt to offer himself as a resource to help support FTX’s creditors in the bankruptcy –
  something Mr. Bankman-Fried had been trying to do repeatedly since the bankruptcy.
  Moreover, the notion that Mr. Bankman-Fried would try to influence Witness-1—a former


  1
    Among other things, Mr. Bankman-Fried offered his assistance with an apparent hack of a cryptocurrency wallet
  belonging to Alameda in late December 2022. In typical fashion, the Government raised this issue to argue for more
  restrictive bail conditions, even though it offered no evidence whatsoever—only supposition—that Mr. Bankman-
  Fried was responsible. (ECF No. 53 at 5; Tr. 2/16/2023 Conf. at 4-5). We can only assume that the Government’s
  investigation into this incident has revealed that Mr. Bankman-Fried had nothing to do with it.
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  partner at S&C and the current General Counsel at FTX US, who would certainly report any
  contacts to the FTX Debtor entities, its outside counsel, and the Government—makes no sense.

          In fact, this is a perfect example of how the Government mischaracterizes the relevant
  facts by cherry-picking a particular communication, ignoring the relevant context, and imputing
  bad faith or nefarious motives to Mr. Bankman-Fried when no such inference is warranted. For
  example:

          •     The Government emphasizes yet again that Mr. Bankman-Fried used Signal, an
                ephemeral messaging application, to contact Witness-1. (ECF No. 184 at 1-2).
                Yet it entirely disregards that Witness-1 used Signal to contact Mr. Bankman-
                Fried about these issues in the first place. Hence, it makes perfect sense that
                Mr. Bankman-Fried would use Signal to respond. The Government also glosses
                over the fact that Mr. Bankman-Fried sent the same message to Witness-1 by
                email, which is not ephemeral. The Government further attempts to tie this
                Signal message to the allegations in the S5 Indictment that Mr. Bankman-Fried
                directed the use of ephemeral messaging applications at FTX and Alameda to
                facilitate the alleged fraud (which the defense disputes). Id. But as we pointed
                out in a prior motion, FTX sought and received legal advice from Fenwick &
                West on the use of ephemeral messaging applications, which is consistent with
                a lack of improper intent. (ECF No. 151 at 7). 2

          •     The Government argues that Mr. Bankman-Fried was trying to influence
                Witness-1’s testimony because he expressed that he wanted to “have a
                constructive relationship” and “use each other as resources” and “vet things
                with each other.” (ECF No. 184 at 1-2). But the Government ignores that
                Witness-1 initiated the dialogue and that Mr. Bankman-Fried’s used the same
                or similar language in his numerous prior communications with Witness-1,
                John Ray, and the S&C attorneys, which are clearly related to his desire to be a
                resource in the bankruptcy process. Most explicitly, on December 12, 2022,
                Mr. Bankman-Fried emailed Mr. Ray saying, “I have potentially pertinent
                information concerning future opportunities and financing for FTX and its
                creditors. I also believe that I have relevant financial information about FTX
                US” and expressing his desire to “work constructively with you . . . to do what’s
                best for customers.” (Everdell Decl., Exhibit B).

          •     The Government notes that in the January 15, 2023 message, Mr. Bankman-
                Fried suggested to Witness-1 that they “get on a phone call.” (Tr. 7/26/2023


  2
   Apparently, the Government’s view is that when an FTX (and former S&C) lawyer like Witness-1 uses an
  ephemeral messaging application, it is innocuous, but when Mr. Bankman-Fried uses the same ephemeral messaging
  application, he must be up to no good.
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             Conf. at 6). According to the Government, this must have been to allow Mr.
             Bankman-Fried to have “undetected communications” with Witness-1 to
             influence his testimony. (Id.). Of course, FTX in-house and outside counsel
             would take notes of any calls with Mr. Bankman-Fried and report them to the
             FTX Debtors and the Government. But setting that aside, it was typical for Mr.
             Bankman-Fried to offer to have a phone call, as reflected in his numerous
             communications with Witness-1, John Ray, and the S&C attorneys. (Everdell
             Decl, Exhibits A-C). Furthermore, Mr. Bankman-Fried wrote to Mr. Ray on
             December 12, 2022, “I would love to talk to you, whether it’s via email or
             phone,” making it clear that he was happy to have the conversations on a
             recorded medium. (Everdell Decl., Exhibit B).

          This record of Mr. Bankman-Fried’s contact with Witness-1, now supplemented with
  additional communications that give the Court the proper context, does not support any inference
  of bad faith or improper intent. And for the reasons discussed in more detail below, it certainly
  does not support a finding of probable cause that Mr. Bankman-Fried committed the crime of
  witness tampering, much less a finding of clear and convincing evidence that there is a “serious
  risk” he will engage in witness tampering in the future.

                 b.     Mr. Bankman-Fried, in Fact, Used a VPN to Watch Football and the
                        Government Has No Evidence to Suggest Otherwise.

          As part of its effort to cobble together a basis for detention, the Government once again
  references Mr. Bankman-Fried’s brief use of a VPN over six months ago, asserting that it was an
  attempt to prevent the Government from monitoring his internet activity. (ECF No. 184 at 2).
  The defense objected to this characterization when this issue was first raised and explained that
  Mr. Bankman-Fried used a VPN to access a subscription service, which he had purchased while
  he was a Bahamian resident, to watch the NFL playoffs and the Super Bowl. (Tr. 2/16/2023
  Conf. at 19). The Government proffers no evidence to challenge Mr. Bankman-Fried’s
  explanation for the use of the VPN, and instead offers only innuendo that Mr. Bankman-Fried’s
  explanation is “unverifiable.” (ECF No. 184 at 2). In fact, Mr. Bankman-Fried’s account is
  entirely borne out by the record. The Government notes that the VPN was used on two dates:
  January 29, 2023, and February 12, 2023. (Id.). Those were the dates of the NFC and AFC
  Championship games and the Super Bowl, respectively.

          Moreover, the Government’s characterization of VPNs as inherently deceptive is
  erroneous. In fact, they are standard workplace security measures and are commonly used by
  companies—and the Government itself—to provide employees remote access to internal
  networks. Indeed, in response to his VPN usage, the Government requested new, stricter bail
  conditions which require Mr. Bankman-Fried to use a VPN to make it easier to track his
  behavior. Similarly, the FTX Debtors have insisted that Mr. Bankman-Fried use a VPN to
  access the AWS database for security purposes. The VPN episode therefore does not support a
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  finding that Mr. Bankman-Fried must be detained, especially when any concern about VPN
  usage has already been addressed by other bail conditions.

                   c.       Mr. Bankman-Fried’s Contact with a New York Times Reporter Was Not
                            an Attempt to Intimidate a Witness or Taint the Jury Pool.

           The only new issue before the Court is what gave rise to this latest round of bail
  litigation; namely, Mr. Bankman-Fried’s contact with a reporter from the New York Times
  concerning an article about himself and Caroline Ellison that was published on July 20, 2023.
  The article was one of thousands of articles mentioning Ms. Ellison, as well as her relationship
  with Mr. Bankman-Fried, that have been published since the FTX bankruptcy. The article was
  ultimately favorable to Ms. Ellison and unfavorable to Mr. Bankman-Fried. The defense has
  already provided the Court with the factual background of Mr. Bankman-Fried’s
  communications with the reporter as well as copies of the documents that he shared, none of
  which were produced in discovery and therefore were not covered by the protective order. For
  the sake of brevity, we will not repeat all of the facts here. However, now that the Government
  is relying on this as a basis to revoke Mr. Bankman-Fried’s bail, a few points bear emphasis.

          First, the Government has not shown under any standard that Mr. Bankman-Fried’s intent
  in speaking to the reporter was to “intimidate” or “discredit” Mr. Ellison or “taint” the jury pool.
  The reporter contacted Mr. Bankman-Fried about an article he was already writing that featured
  Ms. Ellison’s personal diaries and writings. The reporter was already aware of these documents
  because he had written an article two months earlier in which he described Ms. Ellison’s writings
  and reported that they contained her “raw reflections on SBF” and her “personal and professional
  resentment” towards him. 3 Hence, Mr. Bankman-Fried shared copies of writings that the
  reporter apparently already knew about, and which were not produced in discovery, to give his
  perspective and protect his reputation. In no way does this support a finding that Mr. Bankman-
  Fried acted in bad faith to intimidate or corruptly influence Ms. Ellison. Rather, it was a
  permissible exercise of Mr. Bankman-Fried’s First Amendment right to make fair comment on a
  media story about himself. 4

          Second, although the Government suggests that Mr. Bankman-Fried was the source for
  the earlier disclosure of Ms. Ellison’s writings to the New York Times reporter, the Government
  offers no compelling evidence to substantiate that claim. (Tr. 7/26/2023 Conf. at 5). The
  Government instead asserts that because Mr. Bankman-Fried had several phone conversations
  with the reporter, it has “every reason to believe that he was a source for that article as well.”

  3
   See David Yaffe-Bellany and Matthew Goldstein, Emails, Chat Logs, Code and a Notebook: The Mountain of FTX
  Evidence¸ N.Y. Times (May 23, 2023), available at https://www.nytimes.com/2023/05/23/technology/ftx-evidence-
  sam-bankman-fried.html.

  4
    Furthermore, it is hard to imagine how publication of documents in question could intimidate Ms. Ellison against
  testifying. She has already fully committed to doing so, having pled guilty pursuant to a cooperation agreement.
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  (Id.). But innuendo is not evidence. In fact, it seems apparent that the Government or its agents
  were the source for at least some of the disclosures to the reporter. The July 20, 2023 article
  reports that “[p]rosecutors are expected to begin preparing at least some witnesses in August,
  two people with knowledge of the matter said.” 5 That information could only have come from
  the Government. Also, Mr. Bankman-Fried was not the source for Ms. Ellison’s writings about
  Modulo Capital, in which (according to the recent article) she expresses “jealousy and
  resentment towards Modulo.” 6 That description came from “two people who have seen the
  documents,” neither of whom are Mr. Bankman-Fried.

          Third, it is implausible that the jury pool could have been tainted by this one article.
  Indeed, the published article was unfavorable to Mr. Bankman-Fried. As we pointed out in our
  prior submission, more than 1 million articles mentioning FTX have been published since the
  bankruptcy. The overwhelming majority of them have been negative towards Mr. Bankman-
  Fried. The Government is at least partially responsible for this deluge by repeatedly using the
  press to tout its evidence against Mr. Bankman-Fried. 7 Hence, when the New York Times
  reporter approached Mr. Bankman-Fried to discuss an article he was writing about Mr.
  Bankman-Fried and Ms. Ellison, he had every reason to expect that the article would once again
  be negative. It was in this context that Mr. Bankman-Fried engaged with the reporter to protect
  his reputation. Not surprisingly, the published article was unfavorable to Mr. Bankman-Fried
  and favorable to Ms. Ellison. Hence, any purported “taint” to the jury pool (and we dispute that
  there has been any), has been to the detriment of Mr. Bankman-Fried.

          Fourth, the Government’s point that Mr. Bankman-Fried had hundreds or even thousands
  of recent contacts with reporters—which apparently is what caused the Government to change its
  position and seek detention—is not evidence of misconduct. Mr. Bankman-Fried has every right
  to speak to as many reporters as he likes, as often as he wants, as long as he is not seeking to
  pervert the course of justice. If conduct is permitted, then doing it a lot does not make it wrong.

          The record therefore does not support a finding of probable cause that Mr. Bankman-
  Fried engaged in witness tampering, nor is there clear and convincing evidence of a “serious
  risk” that he will attempt to intimidate a witness in the future. Detention is unwarranted.


  5
   David Yaffe-Bellany and Matthew Goldstein, Inside the Private Writings of Caroline Ellison, Star Witness in the
  FTX Case¸ N.Y. Times (June 20, 2023), available at https://www.nytimes.com/2023/07/20/technology/ftx-caroline-
  ellison-bankman-fried.html.
  6
      Id.

  7
   See, e.g., David Yaffe-Bellany and Matthew Goldstein, Emails, Chat Logs, Code and a Notebook: The Mountain
  of FTX Evidence¸ N.Y. Times (May 23, 2023), (touting “the mountain of evidence [which] ranks among the largest
  ever collected in a white-collar securities fraud case prosecuted by the federal authorities in Manhattan”), available
  at https://www.nytimes.com/2023/05/23/technology/ftx-evidence-sam-bankman-fried.html.
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          2.       The Government’s Proffer Does Not Support Revocation of Mr. Bankman-Fried’s
                   Bail under the Bail Reform Act.

          In support of its theory that Mr. Bankman-Fried “tampered” with witnesses, the
  Government proffers evidence that consists of innuendo, speculation, and scant facts, as
  discussed above. The Government’s showing is a far cry from the evidence presented in cases in
  this district where remand has been ordered in connection with alleged witness tampering, and in
  no way supports revocation of Mr. Bankman-Fried’s bail under Sections 3148 or 3142 of the
  Bail Reform Act.

                   a.       Remand is Improper Under 18 U.S.C. 3148(b).

          In order to revoke a defendant’s pretrial release under Section 3148(b), the court, after a
  hearing, must make the following two findings: first, that there is “probable cause to believe”
  that the defendant has committed a Federal, State or local crime while released on bail. 18 U.S.C.
  § 3148(b)(1)(A). 8 Probable cause under this section demands a “practical probability” that the
  evidence supports a finding that the defendant has committed a crime while released. United
  States v. LaFontaine, 210 F.3d 125, 133 (2d Cir. 2000) (internal quotations omitted). And
  second, that there is either “no condition or combination of conditions of release” that will assure
  that the defendant will not flee or pose a danger to the safety of any person or the community; or
  that the defendant is “unlikely to abide by any condition or combination of conditions of
  release.” 18 U.S.C. § 3148(b)(2)(B). If probable cause is found, this raises a rebuttable
  presumption that no conditions will assure that the defendant will not pose a danger to the safety
  of the community. 18 U.S.C. § 3148(b)(2)(B). However, where the court finds that there are
  conditions of release that will assure the safety of the community, the court may amend the
  conditions of release accordingly. Id.

          Revisiting issues that were addressed months ago and resolved on a practical basis
  without the need for further litigation, the Government now claims that Mr. Bankman-Fried has
  “twice attempted” to commit witness tampering in violation of 18 U.S.C. § 1512(b). (ECF No.
  184 at 6). Section 1512(b) provides that a person engages in witness tampering when he or she
  “knowingly uses intimidation, threatens, or corruptly persuades another person, or attempts to do
  so, or engages in misleading conduct toward another person, with intent to – (1) influence, delay,
  or prevent the testimony of any person in an official proceeding.” 18 U.S.C. § 1512(b). “To
  ‘corruptly persuade’ means to act knowingly with a wrongful or evil purpose to convince or
  induce another person to engage in certain conduct.” 2–46 Leonard B. Sand et al., Modern
  Federal Jury Instructions–Instruction 46-58 (2015); see also Arthur Andersen LLP v. U.S., 544
  U.S. 696, 706 (2005) (“Only persons conscious of wrongdoing can be said to knowingly . . .

  8
    The Government does not argue that there is “clear and convincing evidence” that Mr. Bankman-Fried has violated
  “any other condition” of his release on bail. See 18 U.S.C. § 3148(b)(1)(B). Nor could it. Mr. Bankman-Fried has
  precisely followed the terms of each of his bail orders since his arraignment in December 2022, even as the terms of
  those orders have become progressively more complicated and restrictive.
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  corruptly persuad[e].”) (internal quotation marks omitted). There is no evidence supporting
  probable cause to believe that Mr. Bankman-Fried engaged in any conduct over the past six
  months that fits the definition of witness tampering.

           The Government first complains that Mr. Bankman-Fried’s message to Witness-1 on
  January 15, 2023, was “an attempt to corruptly persuade that witness to ‘vet things with each
  other.’” (ECF No. 184 at 6). The Government’s proffer on this point is the same as it was when
  it raised this issue February – it points to the text of the message itself and the fact that Mr.
  Bankman-Fried was Witness-1’s “boss” prior to FTX’s bankruptcy filing in November 2022—an
  event which had occurred two months before this message was sent. Id.

          The Court has previously described this message as an attempt by Mr. Bankman-Fried to
  coordinate with Witness-1 so that they will “sing from the same hymn book.” (ECF No. 58 at 5).
  But the Court reached that determination before being presented with the surrounding context,
  which the defense has since received in discovery and now presented to the Court. Moreover,
  the issue was not fully litigated at the time, because it was resolved as a practical matter with a
  bail condition.

          The additional context explained above makes clear that the dialogue was initiated by
  Witness-1 and the message to Witness-1 was a genuine offer of assistance in connection with the
  bankruptcy process that was unfolding for FTX; indeed, Mr. Bankman-Fried sent similar
  messages to John Ray and the S&C attorneys and had repeatedly expressed his desire to be of
  assistance to the FTX debtors. The purpose of the messages to Witness-1 and Mr. Ray was
  benign: to open a line of communication with the new top leadership at FTX in order to assist
  with asset recovery. There is simply no “practical probability” that Mr. Bankman-Fried
  contacted Witness-1—the former General Counsel of his company, whom he had no control over
  and whom Mr. Bankman-Fried knew and intended would share his message with debtors’
  counsel at S&C—in order to corruptly influence Witness-1’s potential testimony.

          For its second, equally flawed, theory of witness tampering, the Government contends
  that Mr. Bankman-Fried’s showing of certain documents to a New York Times reporter was
  intended to “intimidate and corruptly persuade” Ms. Ellison with respect to her testimony, and
  more broadly “influence or prevent” the testimony of other potential witnesses. (See ECF No.
  184, at 7; 18 U.S.C. § 1512(b)). The Government also raises a new theory, unmentioned at the
  hearing on July 26, 2023, that Mr. Bankman-Fried’s actions “intentionally harass[ed]” Ms.
  Ellison in order to hinder, prevent or dissuade her from testifying in violation of 18 U.S.C.
  § 1512(d).

          Mr. Bankman-Fried’s actions do not constitute witness tampering under 18 U.S.C.
  § 1512. Prior to July 26, 2023, Mr. Bankman-Fried’s bail conditions did not prohibit him from
  meeting with and speaking to members of the press, or publicly sharing materials that were not
  subject to the Government’s protective order. (See ECF No. 118). The Government points to no
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  case law, and defense counsel is aware of none, where a defendant’s provision of newsworthy
  information to a journalist has ever been construed as witness tampering. Nor do Mr. Bankman-
  Fried’s actions implicate the provisions of Local Criminal Rule 23.1. (See ECF No. 178). The
  Government argues that witness tampering can be accomplished through an intermediary, citing
  United States v. Amato in support. But its reliance on Amato is misplaced because the context
  was dramatically different. There, the “intermediary” was not a journalist but an associate of the
  Gambino crime family, and the information conveyed was not a news article, but a “message” to
  a cooperating witness that he was a “rat.” 86 F. App’x 447, 450 (2d Cir. 2004).

           For both purported instances of witness tampering, the Government’s proffered evidence
  is also plainly insufficient or unreliable to demonstrate probable cause. Although parties may
  proceed by proffer in bail hearings, the court must nonetheless “ensure the reliability of the
  evidence, by ‘selectively insisting upon the production of the underlying evidence or evidentiary
  sources where their accuracy is in question.’” United States v. LaFontaine, 210 F.3d 125, 131
  (2d Cir. 2000) (quoting United States v. Martir, 782 F.2d 1141, 1147 (2d Cir. 1986)). Moreover,
  it is not sufficient for the government’s proffer to simply state in “general and conclusory terms
  what it hope[s] to prove,” without referring to any “independent evidence, such as tapes,
  documents, or photographs,” or providing any testimony or affidavits. Id. (quoting Martir, 782
  F.2d at 1147).

          The proffer in United States v. LaFontaine, 210 F.3d 125 (2d Cir. 2000) provides an
  instructive contrast to the Government’s showing here. In finding probable cause that the
  defendant had engaged in witness tampering while released on bail, the LaFontaine court
  observed, among other things, that the defendant had already been indicted for witness
  tampering in a superseding indictment (id. at 129); the defendant had admitted to meeting with
  the witness, which was also a violation of her conditions of release (id. at 132); the tampered-
  with witness was the source for the government’s proffer (id. at 129); and the government
  submitted extrinsic evidence of witness tampering, including a recorded conversation between
  the defendant and witness. Id. at 131; cf. United States v. Brown, No. 10-CR-230S, 2012 WL
  4103857 (W.D.N.Y. Sept. 17, 2012) (finding probable cause where defendant had been charged
  with witness tampering in a superseding indictment, an informant passed evidence of witness
  tampering to law enforcement, and the defendant had been intercepted with cash attempting to
  rendezvous with and bribe the informant). No such evidence has been proffered here. On the
  record before the Court, there is no probable cause to believe that Mr. Bankman-Fried has
  committed any crime while released on bail.

          Even if the Court were to find probable cause that Mr. Bankman-Fried committed a
  felony while released on bail, that would raise a rebuttable presumption that no conditions of
  release would assure that Mr. Bankman-Fried would not pose a danger to the safety of the
  community. 18 U.S.C. § 3148(b)(2)(B). This presumption would be readily rebutted by the
  terms of the Government’s own proposed conditions of release submitted last week, a version of
  which are temporarily in effect. (See ECF No. 179-1 & ECF No. 180). These stringent
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  conditions build on the already extensive restrictions on Mr. Bankman-Fried while he awaits trial
  under house arrest. These bail conditions will preclude the types of press contacts that form the
  basis of the Government’s present concerns and are the least restrictive conditions that will
  ensure the safety of the community. See 18 U.S.C. § 3142(c)(1)(B).

           The Government will also fail to demonstrate that Mr. Bankman-Fried is “unlikely to
  abide by any condition or combination of conditions of release.” 18 U.S.C. § 3148(b)(2)(B). To
  date, Mr. Bankman-Fried has carefully followed the detailed terms of his bail orders, as modified
  over time. While alleging that Mr. Bankman-Fried exploited “gaps” in his release conditions,
  the Government does not argue that Mr. Bankman-Fried has violated his conditions of release.
  Nor could it. As an example, the visit from the New York Times reporter followed the bail
  conditions to the letter, with a security guard present and the reporter signing the electronic
  visitor log. It is therefore unclear on what basis Government maintains that Mr. Bankman-Fried
  is “unlikely” to abide by his conditions going forward. Tellingly, the cases the Government
  relies on for this point in their letter involved defendants who, unlike Mr. Bankman-Fried, had
  repeatedly violated their conditions of release. See United States v. Fortunato, 51 F. App’x 350,
  350-52 (2d Cir. 2002) (“The government proffered extensive evidence of Fortunato’s repeated
  violations of the terms of his release.”); LaFontaine, 210 F.3d at 135 n.6 (“LaFontaine had
  previously disregarded court orders to stay away from Reyes Jr. and her latest violation of the
  trial process . . . would tend to suggest that she would do so again.”) .

          The Court therefore must deny the Government’s request to detain Mr. Bankman-Fried
  under Section 3148 because there is no probable cause to believe that he has tampered with
  witnesses while released on bail, and conditions of release do exist which will continue to ensure
  against any danger to the community.

                 b.      Remand is Improper Under 18 U.S.C. § 3142.

          Under the Bail Reform Act, a defendant shall be granted pretrial release unless the court
  determines after a hearing that “no condition or combination of conditions” will reasonably
  ensure the defendant’s appearance and the safety of the community. 18 U.S.C. §§ 3142(b) & (e).
  Where, as here, the government seeks pretrial detention on the basis that a defendant may
  “tamper” with witnesses, the government must show by clear and convincing evidence that (1)
  there is a “serious risk that such person will obstruct or attempt to obstruct justice, or threaten,
  injure, or intimidate, or attempt to threaten, injure, or intimidate, a prospective witness or juror,”
  and (2) that no conditions of release can reasonably address this concern. 18 U.S.C.
  § 3142(f)(2)(B); see United States v. Leon, 766 F.2d 77, 82 (2d Cir. 1985) (applying clear and
  convincing standard when determining “serious risk” of witness tampering). To meet its burden
  that no conditions of release will ensure the safety of the community, the government must
  provide clear and convincing evidence under the factors in Section 3142(g), including “the
  nature and circumstances of the offense charged;” “the weight of the evidence against the
  person;” “the history and characteristics of the person;” and “the nature and seriousness of the
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  danger to any person or the community that would be posed by the person's release.” 18 U.S.C.
  § 3142(g). “[I]n a case involving threats to witnesses, evidence of such threats is a significant
  factor [under Section 3142(g)].” Leon, 766 F.2d at 81–82.

           Revocation of Mr. Bankman-Fried’s bail under Section 3142(f) is improper because the
  Government has failed to show, by clear and convincing evidence, that there is a “serious risk”
  that Mr. Bankman-Fried will “threaten, injure, or intimate or attempt to threaten, injure, or
  intimidate, a prospective witness,” and that, even if such a serious risk existed, that no
  combination of conditions of release could ensure the safety of the community. “[I]n order to
  warrant detention, the government must prove that going forward there is not just a risk, but ‘a
  serious risk’, of obstruction of justice or witness tampering by threats or intimidation.” United
  States v. Vendetti, 2011 WL 720197 (W.D.N.Y. Feb. 22, 2011) (declining to revoke defendant’s
  bail); see also United States v. Madoff, 586 F. Supp. 2d 240, 250 (S.D.N.Y. 2009) (“The question
  is not simply whether [the defendant’s] actions can be considered obstruction, but whether there
  is a serious risk of obstruction in the future. The statute, by its nature, is always looking
  forward.”) The Government appears to assume, without making any showing by clear and
  convincing evidence, that Mr. Bankman-Fried presents a “serious risk” of witness tampering.
  On this basis alone the Court should deny the Government’s motion under Section 3142.

          Taking for granted the “serious risk” of Mr. Bankman-Fried’s release on bail, the
  Government proceeds to argue that the “totality of facts to date” shows by clear and convincing
  evidence that no release conditions will ensure against a risk of witness tampering going
  forward. (ECF No. 184 at 9). These arguments fall apart under light scrutiny. Under Section
  3142(g)(1) (nature and circumstances of the offense charged) the Government argues that Mr.
  Bankman-Fried is facing a “slate of serious charges” that expose him to a potentially lengthy
  sentence. But the extent of the charges against Mr. Bankman-Fried has not increased since the
  Court’s last modifications of Mr. Bankman-Fried’s bail in March and April 2023, and the
  Government does not explain why the Court should weigh the charges differently now. On the
  contrary, the number of charges on which Mr. Bankman-Fried faces trial has decreased given the
  Government’s submission that it “does not intend to proceed to trial on the campaign
  contributions count.” (See ECF No. 181). Under Section 3142(g)(2) (weight of the evidence
  against the defendant), the considerations have similarly not changed since the Court’s last
  modification of bail. And the Government does not argue any facts under Section 3142(g)(3)
  (the history and characteristics of the defendant), conceding that this factor does not weigh in
  favor of remand.

          The final consideration under Section 3142(g)(4) (nature and seriousness of danger to the
  community) also does not support revocation of Mr. Bankman-Fried’s bail. The Government
  relies extensively on the reasoning in LaFontaine to argue that Mr. Bankman-Fried’s alleged
  witness tampering is a danger to the community and that no bail conditions will be sufficient.
  (See ECF No. 184 at 9-10). But LaFontaine addressed revocation of bail under a preponderance
  of the evidence standard under Section 3148, not the clear and convincing standard that the
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  Government must meet under Section 3142(f). Cf. United States v. Gotti, 794 F.2d 773, 777–78
  (2d Cir. 1986) (“[T]he government must prove the facts underlying danger to the community or
  to any other person by clear and convincing evidence [under] 18 U.S.C. § 3142(f) . . . [W]e do
  not believe that the government bears the same burden under § 3148(b)(2) when it seeks to
  revoke bail even if, as is the case here, it does so to prevent tampering with witnesses before
  trial.”) In any event, as discussed above, the factual basis for witness tampering in LaFontaine
  was considerably more extensive and substantiated than what the Government proffers here.

          Mr. Bankman-Fried’s situation more closely aligns with that presented in this Court’s
  decision in United States v. Stein, 2005 WL 8157371 (S.D.N.Y. Nov. 14, 2005). There, the
  government proffered the anticipated testimony of a cooperating witness who the government
  said would testify to the defendant participating in various fraudulent activities. The government
  also proffered that after the defendant became aware of an investigation into his activities, he
  asked the cooperating witness to sign documents using different pens to create a false impression
  that they were signed at different times. The government maintained that this demonstrated a
  danger to the community. Id. at *2. While agreeing “in principle” that nonviolent witness
  tampering may pose a danger to the community, this Court declined to find that this danger could
  not be addressed by conditions of release:

                 [T]he Court is not persuaded by clear and convincing evidence that a
                 release of Greenberg pending trial could not be conditioned in a
                 manner that would probably eliminate, and in any case greatly
                 diminish, the risk of witness tampering or obstruction. Greenberg
                 therefore will not be detained on the ground that his release would
                 create a danger to the community.

  United States v. Stein, 2005 WL 8157371, at *2 (S.D.N.Y. Nov. 14, 2005).

         In sum, the Government fails to meet its heavy burden under Section 3142(f)(2)(B) to
  show by clear and convincing evidence that Mr. Bankman-Fried poses a “serious risk” of witness
  tampering and that no combination of conditions will address the danger he allegedly poses to
  the community. The Government’s motion to revoke Mr. Bankman-Fried’s bail must therefore
  be denied. United States v. Madoff, 586 F. Supp. 2d 240, 250 (S.D.N.Y. 2009) (denying motion
  to revoke bail).

         3.      The Government’s Expectations Regarding Communications with the Press are
                 Incompatible with the First Amendment.

         As Professor Tribe explains in his expert affidavit (attached as Attachment 1), controlling
  First Amendment case law unambiguously affords Mr. Bankman-Fried the right to comment
  publicly on charges levied against him including statements about his accuser that implicate his
  own reputation. Gentile v. State Bar of Nevada, 501 U.S. 1030, 1058 (1991) (“[I]n some
  circumstances press comment is necessary to protect the rights of the [accused]”); New York Times
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  Co. v. Sullivan, 376 U.S. 254, 280 (1964) (holding that “a defense of fair comment must be
  afforded for honest expression of opinion based upon . . . true[ ] statements of fact”).

          Under the Government’s formulation, a defendant could never speak to the press because
  there is always some chance that doing so will impact the jury pool or a witness. For example, if
  a reporter were to ask a defendant if a witness’ allegations about him are true, any denial of the
  allegations would imply that the accusers were lying and thereby constitute an effort to discredit
  and intimidate that witness or influence potential jurors. The same logic would apply any time a
  defendant spoke about his case—the very reason reporters would want to talk to him—such that
  a defendant could never speak to the press. This is not the law. Gentile, 501 U.S. at 1043 (a
  defense does “not begin inside the courtroom door” and one “cannot ignore the practical
  implications of a legal proceeding” for the accused); Sheppard v. Maxwell, 384 U.S. 333, 349-50
  (1966) (“The principle that justice cannot survive behind walls of silence has long been reflected
  in the ‘Anglo-American distrust for secret trials’ . . . A responsible press has always been
  regarded as the handmaiden of effective judicial administration, especially in the criminal field.”)
  (internal citations omitted).

          Gentile offers a useful example. In Gentile, the defense attorney professed his client’s
  innocence at a press conference, where he provided very specific statements about the witnesses
  and the evidence that go far beyond anything alleged here. Among other things, he suggested
  that one of the police detectives was the real perpetrator and argued that the corroborating
  witnesses were not credible due to their own criminal histories. Gentile, 501 U.S. at 1063-64. In
  reversing the finding of disciplinary action against the attorney, the Court held that “[i]t cannot
  be said that petitioner's conduct demonstrated any real or specific threat to the legal process, and
  his statements have the full protection of the First Amendment.” Id. at 1058.

          The statements the Supreme Court held to be acceptable in Gentile were at least as
  “prejudicial” as the statements the Government now challenges here. Unlike Gentile, where the
  attorney made statements directly contradicting the indictment and impugned the credibility of
  key witnesses, here Mr. Bankman-Fried did not express any opinions as to Ms. Ellison’s
  credibility or guilt. He merely showed a reporter Ms. Ellison’s own prior writings, which the
  reporter apparently already possessed from other sources. The documents were then quoted in
  the published article, which ultimately painted Ms. Ellison in a favorable light and Mr.
  Bankman-Fried in a negative light. Remanding Mr. Bankman-Fried on this record would not
  only be unjust, it would “represent[ ] a limitation of First Amendment freedoms greater than is
  necessary or essential to the protection of the particular governmental interest.” Gentile, 501
  U.S. at 1058; see also New York Times Co., 376 U.S. at 280.

          To the extent the Court remains concerned that extrajudicial statements could interfere
  with a fair trial, the remedy is not to detain the defendant, which would have the effect of chilling
  free speech. Instead, it is to screen potential jurors through extensive voir dire and/or to impose
  a gag order on the parties—nothing more. Gentile, 501 U.S. at 1039; Sheppard, 384 U.S. at 359-
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  60; see also Rule 23.1(h) (authorizing Court to issue “a special order governing such matters as
  extrajudicial statements by parties and witnesses likely to interfere with the rights of the accused
  to a fair trial by an impartial jury”). That is the remedy the Government had previously found
  sufficient and to which the defense consents.

         4.      If He Were Detained, Mr. Bankman-Fried Would Be Unable to Prepare for Trial.

          If Mr. Bankman-Fried is remanded, he will be unable to participate in his defense in
  violation of his Sixth Amendment rights. United States v. Tigano, 880 F.3d 602, 618 (2d Cir.
  2018). The volume of discovery in this case is potentially unprecedented. To date, the
  Government has produced over 4.3 million documents (over 13.2 million pages) in electronic
  discovery and roughly 4.5 terabytes of data. Mr. Bankman-Fried is spending significant time,
  seven days a week, reviewing the discovery on his computer and sharing his thoughts and analysis
  with his lawyers via phone, email, zoom, and Google Docs. If he is detained, he will lose access
  to the Internet entirely, as well as significant portions of the discovery that can only be accessed
  in the cloud, and his access to a computer and his attorneys will be significantly curtailed. Put
  simply, Mr. Bankman-Fried cannot prepare for trial without uninterrupted access to an internet-
  enabled computer, which he will not have in the Metropolitan Detention Center (“MDC”).

          The Government offers boilerplate assurances that it “has plenty of experience
  coordinating with the MDC and the other prisons to get access to discovery to detained
  defendants.” (Tr. 7/26/2023 Conf. at 27). But this assertion is meaningless. There is no way for
  the Government to ensure that Mr. Bankman-Fried will have sufficient access to the discovery and
  to his attorney to adequately prepare for trial. This is not about white collar defendants getting
  “special treatment” because their cases involve numerous documents, as the Government claims.
  For any case (white collar, blue collar, any collar) this is an historic amount of discovery, which
  requires a level of computer assisted access that is not possible in the MDC.

          We begin first with his computer access. Inmates at the MDC typically do not have their
  own computers and have limited access to communal computers located in the law library.
  Although judges can order pretrial detainees to be given their own computer to review discovery,
  that does not solve the problem. Inmates are not allowed to keep their computers in their housing
  units. If they want to use their computers, they must be escorted by prison guards to the visitor
  room. But as the Court may be aware, there is currently a staffing crisis at the MDC and staffing
  levels are well below full capacity. (See Everdell Decl., Exhibit D.) Because of this staffing
  shortage, the MDC cannot cover basic prisoner movements and routinely locks detainees in their
  units with no ability to go to the visitor room. Hence, it is a virtual certainty that if Mr. Bankman-
  Fried is detained, his computer access will be a fraction of what he needs to prepare for trial.

         Next, there is the problem of Internet access. Even if Mr. Bankman-Fried were given his
  own laptop, the MDC does not permit any computers used by inmates to have Internet access. The
  discovery in this case is housed on an online Relativity database, which requires an Internet-
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  enabled computer to access. While it may be possible to convert the discovery files to a different
  format so that the documents can be loaded onto a series of external hard drives that could be
  plugged into a laptop, that process would likely take weeks. But even then, substantial problems
  would remain. For example:

               •   Mr. Bankman-Fried would lose access entirely to the AWS database
                   housing the FTX transactional database. This is a key portion of the
                   discovery because it contains records of every financial transaction ever
                   completed on the FTX exchange. For security reasons, the FTX Debtor
                   entities have insisted that Mr. Bankman-Fried may only access the database
                   online (using a VPN). The MDC would not permit this.

               •   Although most of (but not all of) the discovery could be downloaded to hard
                   drives, the documents would no longer be indexed and searchable in that
                   format. Given the enormous volume of discovery in this case, the only
                   feasible way to review it is to use searches to isolate relevant documents.
                   Indeed, the Government implicitly conceded this point in its opposition to
                   our motion for a bill of particulars when they asserted that such relief was
                   not necessary because the discovery was “well-indexed and searchable.”
                   (ECF 149 at 68, 74-75). If Mr. Bankman-Fried loses the ability to search
                   the discovery, it becomes effectively unreviewable for him.

               •   The Government has designated certain critical discovery materials,
                   including a 60-page Brady disclosure, as Attorneys’ Possession Only
                   (“APO”). We expect that the Government is likely to designate as APO
                   material the Jencks Act disclosures they are scheduled to produce three
                   weeks before trial, and which are likely to be voluminous. If Mr. Bankman-
                   Fried is detained, it will make it extremely difficult to review these materials
                   with him in time to prepare for trial.

          Finally, there is the issue of access to counsel. If he is detained, Mr. Bankman-Fried would
  lose all Internet-enabled communication with his lawyers, including Zoom and Google Docs. At
  this point, roughly two months out from trial, defense counsel are in daily contact with Mr.
  Bankman-Fried, often multiple times a day. Given the complexity of the case, these discussions
  are critical for the preparation of the defense. If he is detained, Mr. Bankman-Fried’s access to
  counsel will be significantly curtailed, which will hobble his ability to participate in his defense.
  In sum, detaining Mr. Bankman-Fried will mean that he will be unable to prepare for trial. 9



  9
    In light of the conditions at the MDC, which implicate Mr. Bankman-Fried’s Sixth Amendment rights, we submit
  that the Government should be held to a higher standard of proof to establish the intent necessary for remand under
  Sections 3148 and 3142 of the Bail Reform Act.
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         5.      The Least Restrictive Remedy is to Impose the Court’s Temporary Order.

           As discussed above, the standards for detention under Sections 1348 and 1342 are not
  satisfied here. Rather, Mr. Bankman-Fried must remain released on bail subject to the “least
  restrictive . . . combination of conditions” that “will reasonably assure the appearance of the
  person as required and the safety of any other person and the community….” 18 U.S.C.
  § 1342(c)(1)(B). We submit that the existing Temporary Order Governing Extrajudicial
  Statements (ECF No. 180) achieves that goal. The defense is willing to agree to the order given
  the critical need to prepare for trial without distraction and the additional burden of collateral
  litigation. We would ask, although it is not a condition to our agreement, that in fairness it
  should be extended to witnesses as well.

                                                       Respectfully submitted,


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